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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

IN RE BROILER CHICKEN ANTITRUST                           Case No.: 1:16-cv-08637
LITIGATION,
                                                          The Honorable Thomas M. Durkin

This Document Relates To:                                 Magistrate Judge Jeffrey T. Gilbert

All Actions




     CLASS PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO AMEND
            UPCOMING DEADLINES IN SCHEDULING ORDER NO. 16

           Direct Purchaser Plaintiffs, Commercial and Institutional Indirect Purchaser Plaintiffs, and

End-User Consumer Plaintiffs (“Class Plaintiffs”) hereby respond to Defendants’ Motion to

Amend Upcoming Deadlines In Scheduling Order No. 16 (ECF No. 5154) as follows:

                                          INTRODUCTION

           Class Plaintiffs have vigorously prosecuted this matter for over five years. At every

opportunity, they have pushed to resolve their claims, through trial or settlements. And they have

continued to do so during lengthy delays due to the government’s intervention and the COVID-19

pandemic. Now Defendants, and some DAPs who chose not to file expert reports by the August

31, 2021 deadline in Scheduling Order No. 16, seek further delay of Class Plaintiffs’ cases. After

the filing of Defendants’ motion, Class Plaintiffs accepted a compromise proposal offered by

Defendants of what Class Plaintiffs understood to be a 45-day extension of all remaining dates in

Scheduling Order No. 16. However, Defendants subsequently sought an unbounded delay while

certain DAPs—who chose not to file merits expert reports by the August 31, 2021 deadline in

Scheduling Order No. 16—now seek to make a new election to file merits reports, join Track 1,

and attempt to “catch up” to Class Plaintiffs. Class Plaintiffs abided by the case schedule and


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disclosed their merits expert reports by August 31 (ECF No. 4748 at 3); however, Defendants’

proposal for fixing the problem potentially occasioned by these non-compliant DAPs who may

now attempt to proceed on Track 1 is to penalize Class Plaintiffs by delaying Class Plaintiffs’

cases. This is prejudicial and unfair to Class Plaintiffs, who have chosen every option and complied

with every deadline that allows their clients and classes to resolve their cases as soon as possible.

It is also an unsophisticated solution to a problem that is similar to those the parties have previously

encountered but have been more deftly handled in prior scheduling orders.

                                             ARGUMENT

           A.     The Parties Are Close to an Agreement on a Reasonable Extension to the
                  Schedule, but Class Plaintiffs Want to Ensure It Applies to All Applicable
                  Deadlines.

           The parties’ current proposals are not far apart. Defendants’ offer is a 45-day extension of

only the “deadlines for Defendants to depose Plaintiffs’ experts who have already submitted

reports and for Defendants to serve their responsive expert reports.” (Exhibit A, Oct. 29, 2021

Email from J. Stupar.) Class Plaintiffs similarly proposed a 45-day extension, but one that applies

to all remaining dates in Scheduling Order No. 16, with the exception of the January 3, 2022

expiration of the stay on depositions of DOJ-requested witnesses and topics (“DOJ Stay

Expiration”).1 (Exhibit B, Oct. 27, 2021 Email from K. Pozan; Exhibit C, Oct. 28, 2021 Email

from K. Pozan; Exhibit D, Proposed Scheduling Order No. 17 for Track 1 Actions.) By

maintaining the spacing and structure of Scheduling Order No. 16, Class Plaintiffs’ proposal is

more equitable, and it is joined by DAPs who disclosed merits expert reports by August 31.




           1
         The DOJ Stay Expiration deadline is connected to the ongoing criminal trial and the
Court’s October 15 Order did not impact it; thus, in Class Plaintiffs’ view, neither the October 15
Order nor anything else required that it be changed.


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           Class Plaintiffs were not opposed in principle to an extension. What Class Plaintiffs

opposed is Defendants’ pre-motion request to vacate all deadlines in this case rather than extend

them, the duration of extension that Defendants sought in their motion, and that Defendants sought

to seize an unwarranted and prejudicial advantage by extending only their own upcoming

deadlines, rather than engaging in a reasoned negotiation on the appropriate effect of that change

on the overall schedule. At most, the Court’s October 15, 2021 Order vacating its September 22,

2020 bifurcation Order created a period of uncertainty for Defendants lasting only 28 days. This

is because the October 15 Order set a November 12, 2021 deadline for Plaintiffs to decide whether

to proceed on Track 1 or Track 2.2 Thus, at the latest, Defendants would know within 28 days of

the Court’s October 15 Order which Plaintiffs were proceeding on Track 1 and the merits expert

reports to which they would need to respond.3 Moreover, Defendants have had Class Plaintiffs’

merits expert reports since August 31. Yet surprisingly, even prior to the Court’s Order of October

15, Defendants made no attempt to schedule the depositions of Class Plaintiffs’ merits experts in

time to meet their December 7, 2021 deadline. The Court need not reward Defendants by

accommodating their intentional delay.

           Therefore, while the Court’s October 15 Order may have injected some limited scheduling

uncertainty into a subset of DAP cases (those where the DAP in question did not file merits expert

reports by August 31 but may now attempt to proceed on Track 1), the Order did not create any

similar uncertainty with respect to Class Plaintiffs. Class Plaintiffs therefore believed that



           2
         Class Plaintiffs intend “Track 1” and “Track 2” as used herein to be synonymous with the
Court’s references in its October 15 Order to the “first track” and the “second track,” respectively.
(See ECF No. 5128, Oct. 15, 2021 Order, at 5.)
           3
          And as Defendants acknowledged in their motion, on October 26, DPPs and EUCPs filed
stipulations of intent to proceed on Track 1, 17 days before the November 12 deadline. (ECF Nos.
5150, 5151.)


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Defendants’ request for a 60-day extension in their cases was excessive, was not necessitated by

the October 15 Order, would unfairly provide Defendants’ merits expert(s) with additional time to

study and dissect Class Plaintiffs’ merits expert reports without providing additional time to Class

Plaintiffs’ experts, and would shorten the amount of time that Class Plaintiffs have to depose

Defendants’ merits expert(s) and disclose rebuttal merits expert reports.

           Even so, Class Plaintiffs were, and still are, willing to negotiate a reasonable compromise

with Defendants. The parties continued to communicate via email following the filing of

Defendants’ motion and Defendants made a compromise proposal of a 45-day extension. (Exhibit

E, Oct. 27, 2021 Email from J. Stupar.) Initially, it was unclear from Defendants’ communications

whether they intended the 45-day extension to apply to all remaining deadlines, including the DOJ

Stay Expiration. So Class Plaintiffs made their proposal clear: exclude the DOJ Stay Expiration

deadline from the agreement, maintain the spacing and structure of Scheduling Order No. 16, and

extend all other remaining deadlines for 45 days. (Exhibit B, Oct. 27, 2021 Email from K. Pozan;

Exhibit C, Oct. 28, 2021 Email from K. Pozan; Exhibit D, Proposed Scheduling Order No. 17 for

Track 1 Actions.) However, instead of acknowledging Class Plaintiffs’ proposal, Defendants

shifted course and proposed a piecemeal approach that would further advantage Defendants and

prejudice Class Plaintiffs, i.e., that the extension would apply only to the “deadlines for Defendants

to depose Plaintiffs’ experts who have already submitted reports and for Defendants to serve their

responsive expert reports.” (Exhibit A, Oct. 29, 2021 Email from J. Stupar.) Defendants further

proposed to delay any discussion of the remaining dates in Scheduling Order No. 16 until the

parties “addressed [them] with the Court after November 12.” (Id.) Defendants then narrowed their

proposal even further: “Long and short, this 45 days is contingent on [Defendants] already having

all Track 1 Plaintiffs’ expert reports; if that changes, so will the schedule from the Defendants’




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perspective.” (Id.) Defendants’ qualification essentially rendered their offer entirely illusory since,

as they knew at the time of their increasingly narrowed proposal, one DAP who did not disclose

merits expert reports by August 31 had already said that it may elect Track 1.

           As currently framed, two profoundly unfair outcomes ensue from Defendants’ current

proposal. First, if only the dates for Defendants’ rebuttal reports move and the remaining schedule

stays in place for the Class Plaintiffs, then the agreed upon spacing (January 31, 2022 for

Defendants’ expert reports with the 45-day extension and April 8, 2022 for Plaintiffs’ rebuttal

expert reports under the existing Scheduling Order No. 16), would dramatically shorten Class

Plaintiffs’ time to prepare rebuttal reports.

           The second outcome under Defendants’ proposal is that they receive a 45-day extension

on the deadlines for their rebuttal expert reports, and then some future extension as the parties

confer to set an additional, future Scheduling Order No. 17. This also is profoundly unfair to Class

Plaintiffs. Plaintiffs’ experts are academics who are heavily sought after in terms of their time and

commitments. Without firm dates for depositions and reports, it is challenging for these experts to

properly set aside time to prepare for depositions and prepare their reports. Moreover, this

litigation is time consuming and takes substantial litigation resources from each of the firms

involved. Again, without at least some guideposts in place for law firms to reserve time from

associates, partners, and other professionals to complete expert reports, have attorneys available

to conduct the remaining depositions (currently stayed until the completion of the criminal trial or

subject to pending motions for protective orders), and be ready to address Defendants’ summary

judgment motions, it is very difficult to the firms in this litigation to represent the classes in the

most vigorous manner possible. In short, Defendants’ proposal asking this Court for certainty,




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without providing for an extension in the complete schedule, deprives Class Plaintiffs of the very

same certainty.

           A simple solution exists. Moving all dates in Scheduling Order No. 16 by 45 days puts all

parties on equal footing. The spacing between events has been long-established in this case and

would not be disrupted. Moreover, the 45-day extension 45-day extension provides Defendants

with ample time to account for any uncertainty resulting from the 28 days of lag time between the

Court’s October 15 Order and the November 12 election deadline, as well as an additional 17 days

to account for the holidays. Class Plaintiffs therefore propose to the Court, as they did to

Defendants, that the Court adopt the deadlines contained in Proposed Scheduling Order No. 17 for

Track 1 Actions. (Exhibit D, Proposed Scheduling Order No. 17 for Track 1 Actions.)

           B.     Aside From the 45-Day Extension, There Is No Need to Further Modify the
                  Deadlines in Scheduling Order No. 16, Even if DAPs Who Did Not Timely
                  Disclose Merits Expert Reports Elect Track 1

           Defendants have wrongly seized on the possibility that DAPs who did not disclose merits

expert reports by August 31 may nevertheless proceed on Track 1 as a pretext to upend the entire

schedule as to Class Plaintiffs. As noted above, in their final two communications Defendants

clarified that any agreement to extend the remaining dates in Scheduling Order No. 16 by 45 days

is contingent on it remaining the case that the only Track 1 actions are those brought by Plaintiffs

who timely disclosed merits expert reports by August 31. (See Exhibit A, Oct. 29, 2021 Email

from J. Stupar.) Defendants’ position is that if DAPs who did not disclose merits expert reports by

August 31 ultimately do elect Track 1 and the Court permits them to proceed on Track 1, the

schedule would need to change. (Id.) Defendants are effectively saying they are entitled to have

all Track 1 actions on precisely the same schedule. They are not. As this case has repeatedly




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demonstrated, it is neither unworkable nor unfairly prejudicial to Defendants if there are different

deadlines for parties on the same track.

           Until now, there has been only one track. But ever since the first DAP case was reassigned

as related, the Court has built accommodations into the schedule to enable new DAPs to “catch

up.” For instance, Scheduling Order No. 9 included separate discovery deadlines for “Current

Direct Action Plaintiffs,” as well as procedures for future DAP cases reassigned as related. (See

generally ECF No. 1416.) These accommodations are even found in the current scheduling order,

which has an August 31, 2021 deadline by which any DAP must be reassigned as related to be

considered for participation in the initial trial—the same date by which Plaintiffs’ merits expert

reports were due. (ECF No. 4748 at 3.) Scheduling Order No. 16 also notes that Defendants and

“DAPs who filed in between February 1, 2021 and the date of this Order . . . have separately

negotiated discovery schedules and will attempt to adhere to those as negotiated.” (Id. at 2 n.4.)

           Class Plaintiffs adhered to the deadlines in Scheduling Order No. 16 by disclosing their

merits expert reports on August 31. It is now November 3. The December 7 deadline to depose

Class Plaintiffs’ merits experts is fast approaching, and Defendants have made no effort to notice

a single one of their depositions. Assuming for the sake of argument that the Court’s October 15

Order led to any uncertainty as to whether Defendants would need to depose Class Plaintiffs’

merits experts by the December 7 deadline, Class Plaintiffs’ proposed 45-day extension will

remedy it and ensure that the deadlines do not encroach on the holidays. But whether a DAP who

has not disclosed its merits expert reports elects to proceed on Track 1 creates no uncertainty as to

whether Defendants need to depose Class Plaintiffs’ merits experts or disclose their rebuttal merits

expert reports.




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           In sum, the best way to address the problem created by a DAP who did not disclose a merits

expert report by August 31 but nevertheless elects to proceed on Track 1, is to create an

accommodation in the schedule, like the many that have existed in this case before it.4 To penalize

Class Plaintiffs for a circumstance not of their making by further delaying the prosecution of their

cases is not only unfair, it is unnecessary. The Court should obligate Defendants to comply with

the schedule, subject to a brief extension. There is simply no basis for wiping the slate clean for

Class Plaintiffs just because a DAP who did not comply with the August 31 deadline may decide

to elect Track 1.

                                           CONCLUSION

           WHEREFORE, for these reasons, Direct Purchaser Plaintiffs, Commercial and

Institutional Indirect Purchaser Plaintiffs, and End-User Consumer Plaintiffs respectfully request

that the Court deny Defendants’ Motion to Amend Upcoming Deadlines In Scheduling Order No.

16, and instead that the Court adopt the deadlines contained in Class Plaintiffs’ Proposed

Scheduling Order No. 17 for Track 1 Actions. (Exhibit D, Proposed Scheduling Order No. 17 for

Track 1 Actions.)




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         Even without an accommodation, the addition of 45 days to the schedule and the likely
substantial overlap with Class Plaintiffs’ merits expert reports should ensure that Defendants have
ample time with any newly-disclosed merits expert reports by DAPs.


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Date: November 3, 2021                    Respectfully submitted,

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